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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


    In re:                                               Chapter 11

    AMYRIS, INC., et al.                                 Case No. 23-11131 (TMH)

                            Debtors.1                    (Jointly Administered)

                                                         Hearing: November 6, 2023 at 10:00 a.m. (ET)
                                                         Obj. Deadline: November 2, 2023 at 12:00 p.m. (ET)

                                                         Re: Docket Nos. 614, 621

                      NOTICE OF MOTION OF THE AD HOC
                NOTEHOLDER GROUP FOR AN ORDER PURSUANT
         TO BANKRUPTCY RULE 2004 AND LOCAL BANKRUPTCY RULE 2004-1
       DIRECTING THE PRODUCTION OF DOCUMENTS BY THE FORIS LENDERS

        PLEASE TAKE NOTICE that, on October 24, 2023, the Ad Hoc Group of Holders of
1.50% Convertible Senior Notes due 2026 (the “Ad Hoc Group” of holders of the “Convertible
Notes”) filed the Motion of the Ad Hoc Noteholder Group for an Order Pursuant to Bankruptcy
Rule 2004 and Local Bankruptcy Rule 2004-1 Directing the Production of Documents by the Foris
Lenders [Docket No. 614] (the “Motion”) with the United States Bankruptcy Court for the District
of Delaware (the “Bankruptcy Court”). You were previously served with a copy of the Motion.
The Motion is also available on the website maintained by Stretto, the Debtors’ claims agent –
https://cases.stretto.com/amyris.
      PLEASE TAKE FURTHER NOTICE that, on October 26, 2023, upon motion of the Ad
Hoc Group, the Bankruptcy Court approved the Order Denying Ad Hoc Noteholder Group’s
Motion for an Order Shortening the Notice Period for its Rule 2004 Motion Directing the
Production of Documents by the Foris Lenders [Docket No. 621] (the “Order”).
       PLEASE TAKE FURTHER NOTICE that, pursuant to the Order, objections or
responses to the relief requested in the Motion must be filed on or before November 2, 2023 at
12:00 p.m. (Prevailing Eastern Time) (the “Objection Deadline”) with the United States
Bankruptcy Court for the District of Delaware, 824 N. Market Street, 3rd Floor, Wilmington,
Delaware 19801. At the same time, copies of any responses or objections to the Motion must be
served upon the undersigned counsel to the Ad Hoc Group so as to be received on or before the
Objection Deadline.
      PLEASE TAKE FURTHER NOTICE that, pursuant to the Order, a hearing on the
Motion (the “Hearing”) has been scheduled for November 6, 2023 at 10:00 a.m. (Prevailing

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 A complete list of each of the Debtors in these Chapter 11 Cases may be obtained on the website of the Debtors’
proposed claims and noticing agent at https://cases.stretto.com/amyris. The location of Debtor Amyris Inc.’s principal
place of business and the Debtors’ service address in these Chapter 11 Cases is 5885 Hollis Street, Suite 100,
Emeryville, CA 94608.
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Eastern Time) before the Honorable Thomas M. Horan, United States Bankruptcy Judge, in the
Bankruptcy Court, 824 N. Market Street, 3rd Floor, Courtroom #7, Wilmington, Delaware 19801.
     PLEASE TAKE FURTHER NOTICE THAT IF NO OBJECTIONS OR
RESPONSES TO THE MOTION ARE TIMELY FILED AND RECEIVED IN
ACCORDANCE WITH THIS NOTICE, THE COURT MAY GRANT THE RELIEF
REQUESTED THEREIN WITHOUT FURTHER NOTICE OR HEARING.


 Dated: October 30, 2023                       BLANK ROME LLP
 Wilmington, Delaware
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